CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?117447680846669-...
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                                                   1:16-cr-00099-AT-LTW
                                                        USA v. Kight
                                                  Honorable Amy Totenberg


                                    Minute Sheet for proceedings held In Chambers on 05/17/2019.


              TIME COURT COMMENCED: 1:35 P.M.
              TIME COURT CONCLUDED: 2:00 P.M.                     COURT REPORTER: Elizabeth Cohn
              TIME IN COURT: 00:25                                DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

        DEFENDANT(S):                [1]Bennett L. Kight NOT Present at proceedings
        ATTORNEY(S)                  Nathan Kitchens representing USA
        PRESENT:                     Paul Monnin representing Bennett L. Kight
                                     Caroline Strumph representing Bennett L. Kight
                                     Lara Tumeh representing Bennett L. Kight
        PROCEEDING
                                     Telephone Conference(Other Proceeding Non-evidentiary);
        CATEGORY:
        MINUTE TEXT:                 The 2nd Superseding Indictment was discussed. The Court will advise
                                     next week as to the decertification.
        HEARING STATUS:              Hearing Concluded




                                                                                                                     5/17/2019 2:16 PM
